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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

MAAZ QURESHI, individually      )
and on behalf of others similarly
                                )
situated,                       )
                182 SCHOOL STREET
                                )
             NORTHVALE, NJ 07647)
                                )
               Plaintiff,       )
                                )                         Case No. ___-cv-_________
v.                              )
                                )
AMERICAN UNIVERSITY,            )
    4400 Massachusetts Ave., NW )
          Washington, DC 20016 )
                                )
              Defendant.        )
                                )

                             CLASS ACTION COMPLAINT

 1. Plaintiff Maaz Qureshi (“Plaintiff”) by and through undersigned counsel, brings this

    action against American University (“Defendant” or the “University”) on behalf of

    himself and all others similarly situated, and makes the following allegations based upon

    information, attorney investigation and belief, and upon Plaintiff’s own knowledge:

                             PRELIMINARY STATEMENT

 2. Plaintiff brings this case as a result of Defendant's decision to close campus,

    constructively evict students, and transition all classes to an online/remote format as a

    result of the Novel Coronavirus Disease (“COVID-19”).

 3. While closing campus and transitioning to online classes was the right thing for

    Defendant to do, this decision deprived Plaintiff and the other members of the Classes

    from recognizing the benefits of in-person instruction, access to campus facilities, student

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           activities, and other benefits and services in exchange for which they had already paid

           fees and tuition.

      4. Defendant has either refused to provide reimbursement for the tuition, fees and other

           costs that Defendant is no longer providing, or has provided inadequate and/or arbitrary

           reimbursement that does not fully compensate Plaintiff and members of the Class for

           their loss.

      5. This action seeks refunds of the amount Plaintiff and other members of the Class are

           owed on a pro-rata basis, together with other damages as pled herein.

                                                   PARTIES

      6. Defendant American University is an institution of higher learning located in the District

           of Columbia.

      7. Upon information and belief, Defendant has an estimated endowment that exceeds $676

           Million.1

      8. Moreover, upon information and belief, Defendant may be eligible to receive federal

           stimulus under the CARES Act. The Act directs that approximately 14 billion dollars be

           distributed to colleges and universities based upon enrollment and requires that

           institutions must use at least half of the funds they receive to provide emergency financial

           aid grants to students for expenses related to the disruption of campus operations due to

           COVID-19.

      9. Plaintiff is an individual and a resident and citizen of the state of New Jersey.

      10. Plaintiff is currently enrolled as a full time student in Defendant's undergraduate

           program, studying international relations.



1
    https://www.usnews.com/best-colleges/american-university-1434

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      11. Plaintiff has paid substantial tuition for the Spring 2020 semester either out of pocket or

           by utilizing student loan financing, or otherwise.

      12. There are hundreds, if not thousands, of institutions of higher learning in this country.

      13. Some institutions of higher learning provide curriculum and instruction that is offered on

           a remote basis through online programming which do not provide for physical attendance

           by the students.

      14. Defendant's institution offers in person, hands on curriculum.

      15. Plaintiff and members of the Proposed Tuition Class did not choose to attend another

           institution of higher learning, or to seek an online degree, but instead chose to attend

           Defendant's institution and enroll on an in-person basis.

      16. Defendant markets the on campus experience as a benefit of enrollment.

      17. For example, an entire page on Defendant’s website is dedicated to “University Life” and

           touts such things as Greek life, athletics, and student organizations.2

      18. Defendant also markets the benefits of their physical campus location, stating, “DC

           serves as a laboratory of learning for students.”3

      19. Common sense would dictate that the level and quality of instruction an educator can

           provide through an online format is lower than the level and quality of instruction that

           can be provided in person.

      20. Moreover, the true college experience encompasses much more than just the credit hours

           and degrees. The college experience consists of:

              i.    Face to face interaction with professors, mentors, and peers;

             ii.    Access to facilities such as computer labs, study rooms, laboratories, libraries, etc;


2
    https://www.american.edu/universitylife/
3
    Id.

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    iii.     Student governance and student unions;

     iv.     Extra-curricular activities, groups, intramurals, etc;

     v.      Student art, cultures, and other activities;

     vi.     Social development and independence;

    vii.     Hands on learning and experimentation; and

   viii.     Networking and mentorship opportunities.

21. Plaintiff’s education has transitioned from in-person hands on learning to online

   instruction.

22. Plaintiff’s online instruction is not commensurate with the same classes being taught in

   person.

23. For example, few if any of Plaintiff’s classes are currently being taught “live” in an

   online format. Some lectures are simply uploads of pre-recorded videos that do not allow

   for student/teacher interaction, and a number of classes are simply posting reading

   assignments with no video instruction at all.

24. In addition to tuition, Plaintiff was required to pay certain mandatory fees, including but

   not limited to:

             a.   Activity Fee;

             b.   Sports Center Fee;

             c.   Technology Fee; and

             d.   Metro U-Pass Fee

25. According to Defendant, the mandatory activity fee is intended to provide for student

   sponsored programs that “contribute significantly to the intellectual and social

   development of the student body, serve the university academic goals, encourage student



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        participation and leadership, and enhance the general campus environment.4

    26. Defendant’s mandatory sports center fee provides registered students with “use [of] the

        entire sports center complex facilities, including the fitness center.”5

    27. Defendant’s mandatory technology fee is intended to provide students with a number of

        physical, on-campus technological services such as “expanded computer lab…wireless

        connectivity…and faster internet connectivity.”6

    28. Defendant’s Metro U-Pass fee is a mandatory fee charged to full time students enrolled in

        an on-campus program, which provides such students unlimited access to the Metrorail

        and Metrobus transportation network.7

    29. As a result of being asked to leave campus and return home to New Jersey, Plaintiff no

        longer has the benefit of the services for which these fees have been paid. For example,

        Plaintiff cannot participate in on-campus student activities; has no access to the sports

        complex facilities or fitness center; has no access to campus computer labs or internet

        services; and has no need or ability to utilize the U-Pass transportation system.

                                    JURISDICTION AND VENUE

    30. This Court has jurisdiction over this action pursuant to the Class Action Fairness Act

        (“CAFA”), 28 U.S.C. § 1332(d), because at least one class member is of diverse

        citizenship from one Defendant, there are more than 100 Class members, and the

        aggregate amount in controversy exceeds $5 million, exclusive of interest and costs.

    31. This Court has personal jurisdiction over Defendant because Defendant is domiciled in

        the District of Columbia and conducts business in the District of Columbia.


4
  https://www.american.edu/finance/studentaccounts/tuition-and-fees-information.cfm
5
  Id.
6
  Id.
7
  Id.

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    32. Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part of

        the events or omissions giving rise to the claims occurred in this District, and because

        Defendant is an institution domiciled and doing business in this District.

                                     FACTUAL ALLEGATIONS

    33. Upon information and belief, Defendant’s Spring term began with the first day of classes

        on or about January 8, 2020.8

    34. Upon information and belief, Defendant’s Spring term was scheduled to conclude with

        the last day of examinations on or about May 5, 2020 and commencement ceremonies on

        May 8-10, 2020.9

    35. Accordingly, Defendant’s Spring semester was scheduled and contracted to consist of

        approximately 118 days.

    36. Defendant’s Spring break began on or about March 8, 2020 and was supposed to end on

        or about March 15, 2020, with students resuming in person classes on March 16, 2020.10

    37. However, as a result of the COVID-19 pandemic, Defendant announced major changes to

        this schedule in an announcement from the University’s President on March 10, 2020.

        The University announced that Spring break would be extended for 2 days through

        March 16 and 17, and that classes would resume on March 18, 2020 in a fully online

        format.11

    38. Originally, classes were only scheduled to move online through April 3, 2020,12 but on

        March 12, 2020, the University announced that the transition to online instruction would




8
  https://www.american.edu/provost/registrar/academiccalendar/academic-calendar-2019-2020.cfm
9
  Id.
10
   Id.
11
   https://www.american.edu/president/announcements/march-10-2020.cfm
12
   Id.

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        remain through the end of the Spring semester.13

     39. In this same announcement, students were “strongly encouraged” to “depart campus as

        soon as possible” and all University sponsored events (both on and off campus) were

        suspended.14

     40. In a separate announcement of the same day (March 12, 2020), the University Provost

        further encouraged students (both those living on and off campus) to return to their

        permanent homes, stating “there will not be campus activities.”15

     41. Accordingly, Plaintiff and Members of the proposed Classes were deprived of

        approximately 42% of the in-person instruction, activities, and on-campus services for

        which they had bargained and already paid.

     42. Nonetheless, the University has refused and continues to refuse to offer any pro-rated

        discount or refund on Spring tuition.

     43. Although Defendant is still offering some level of academic instruction via online

        classes, Plaintiffs and members of the proposed Class have been and will be deprived of

        the benefits of on campus learning as set forth more fully above.

     44. Moreover, the value of any degree issued on the basis of online or pass/fail classes will

        be diminished for the rest of their lives.

     45. The University Provost acknowledged to students that off-campus, online instruction was

        not an adequate substitute for the on-campus experience:16




13
   https://www.american.edu/president/announcements/march-12-2020.cfm
14
   Id.
15
   https://www.american.edu/ocl/3-12-covid.cfm
16
   https://www.american.edu/ocl/3-12-covid.cfm

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       46. Likewise, the University has acknowledged that the monetary value of online classes is

           not commensurate with in-person classes.

       47. Although Defendant has refused and continues to refuse to reduce tuition for Spring

           semester students, the University has announced that students expecting to take Summer

           classes in person (who will now be forced to take them online) will be given a 10%

           discount on tuition:17




       48. Upon information and belief, the only difference between Defendant’s decision to

           discount online classes for the Summer and not discount online classes for the Spring is

           that Defendant has already collected tuition for the Spring Semester and the Spring

           Semester students have no recourse, whereas Defendant has not yet collected tuition for

           the Summer term and Defendant knows many students will not agree to pay full price

           tuition for online classes during that upcoming term.

       49. Likewise, Plaintiff and members of the proposed Fees Class have been and will be




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     https://www.american.edu/

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           deprived of utilizing services for which they have already paid, such as access to campus

           facilities, and other opportunities as described above.

       50. Nonetheless, Defendant has refused and continues to refuse to pro-rate or refund any

           portion of the mandatory fees set forth in Paragraph 24:18




                                     CLASS ACTION ALLEGATIONS

       51. Plaintiff brings this action on behalf of himself and as a class action, pursuant to the

           provisions of Rule 23 of the Federal Rules of Civil Procedure on behalf of the following

           Classes:

                   The Tuition Class:

                   All people who paid tuition for or on behalf of students enrolled in classes at the
                   University for the Spring 2020 semester who were denied live in-person
                   instruction and forced to use online distance learning platforms for the latter
                   portion of that semester.

                   The Fees Class:


18
     https://www.american.edu/coronavirus/faq-finances-and-student-services.cfm#proratedfees

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           All people who paid fees for or on behalf of students enrolled in classes at the
           University for the Spring 2020 semester.


52. Excluded from the Classes are The Board of Regents of Trustees of American University

   and any of their respective members, affiliates, parents, subsidiaries, officers, directors,

   employees, successors, or assigns; and the judicial officers, and their immediate family

   members, and Court staff assigned to this case. Plaintiffs reserve the right to modify or

   amend the Class definitions, as appropriate, during the course of this litigation.

53. Certification of Plaintiff’s claims for class-wide treatment is appropriate because Plaintiff

   can prove the elements of his claims on a class-wide basis using the same evidence as

   would be used to prove those elements in individual actions alleging the same claims.

54. This action has been brought and may be properly maintained on behalf of the Class

   proposed herein under Federal Rule of Civil Procedure 23.

               Numerosity: Fed. R. Civ. P. 23(a)(1)

55. The members of the Class are so numerous and geographically dispersed that individual

   joinder of all Class members is impracticable. Plaintiff is informed and believes there are

   thousands of members of the Class, the precise number being unknown to Plaintiff, but

   such number being ascertainable from Defendant's records. Class members may be

   notified of the pendency of this action by recognized, Court-approved notice

   dissemination methods, which may include U.S. mail, electronic mail, internet postings,

   and/or published notice.

               Commonality and Predominance: Fed. R. Civ. P. 23(a)(2)

56. This action involves common questions of law and fact, which predominate over any

   questions affecting individual Class members, including, without limitation:



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  ix.   Whether Defendant engaged in the conduct alleged herein;

  x.    Whether there is a difference in value between online distance learning and live

        in-person instruction;

  xi.   Whether Defendant breached its contracts with Plaintiff and the other members of

        the Tuition Class by retaining the portion of their tuition representing the

        difference between the value of online distance learning and live in-person

        instruction;

 xii.   Whether Defendant was unjustly enriched by retaining tuition payments of

        Plaintiff and the Tuition Class representing the difference between the value of

        online distance learning and live in-person instruction;

xiii.   Whether Defendant breached its contracts with Plaintiff and the other members of

        the Fees Class by retaining fees without providing the services the fees were

        intended to cover;

xiv.    Whether Defendant was unjustly enriched by retaining fees of Plaintiff and the

        other members of the Fees Class without providing the services the fees were

        intended to cover;

 xv.    Whether certification of any or all of the classes proposed herein is appropriate

        under Fed. R. Civ. P. 23;

xvi.    Whether Class members are entitled to declaratory, equitable, or injunctive relief,

        and/or other relief; and

xvii.   The amount and nature of relief to be awarded to Plaintiff and the other Class

        members.

           Typicality: Fed. R. Civ. P. 23(a)(3)



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57. Plaintiff’s claim is typical of the other Class member’s claims because, among other

   things, all Class members were similarly situated and were comparably injured through

   Defendant's wrongful conduct as set forth herein.

               Adequacy: Fed. R. Civ. P. 23(a)(4)

58. Plaintiff is an adequate Class representative because his interests do not conflict with the

   interests of other members of the Class he seeks to represent. Plaintiff has retained

   counsel competent and experienced in complex litigation; and Plaintiff intends to

   prosecute the action vigorously. The Class’s interests will be fairly and adequately

   protected by Plaintiff and his counsel.

               Superiority: Fed. R. Civ. P. 23(b)(3)

59. A class action is superior to any other available means for the fair and efficient

   adjudication of this controversy, and no unusual difficulties are likely to be encountered

   in the management of this class action. The damages or other financial detriment

   suffered by Plaintiff and other Class members are relatively small compared to the

   burden and expense that would be required to individually litigate their claims against

   Defendant, so it would be impracticable for members of the Class to individually seek

   redress for Defendant's wrongful conduct.

60. Even if Class members could afford individual litigation, the Court system likely could

   not. Individualized litigation creates a potential for inconsistent or contradictory

   judgments, and increases the delay and expense to all parties and the court system. By

   contrast, the class action device presents far fewer management difficulties and provides

   the benefits of single adjudication, economy of scale, comprehensive supervision by a

   single court, and finality of the litigation.



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                   Certification of Specific Issues: Fed. R. Civ. P. 23(c)(4)

61. To the extent that a Class does not meet the requirements of Rules 23(b)(2) or (b)(3),

   Plaintiff seeks the certification of issues that will drive the litigation toward resolution.

                   Declaratory and Injunctive Relief: Fed. R. Civ. P. 23(b)(2)

62. The University has acted or refused to act on grounds generally applicable to Plaintiff and

   the other Class members, thereby making appropriate final injunctive relief and

   declaratory relief, as described herein, with respect to the Class members as a whole.

                 FOR A FIRST COLLECTIVE CAUSE OF ACTION
                               BREACH OF CONTRACT
                  (Plaintiff and Other Members of the Tuition Class)

63. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

64. Plaintiff brings this count on behalf of himself and other members of the Tuition Class.

65. Plaintiff and the Tuition Class entered into contracts with the University which provided

   that Plaintiff and other members of the Tuition Class would pay tuition for or on behalf of

   students and, in exchange, the University would provide live in-person instruction in a

   physical classroom.

66. Plaintiff and other members of the Tuition Class fulfilled their end of the bargain when

   they paid tuition for the Spring 2020 semester either out-of-pocket or by using student

   loan financing, or otherwise.

67. The University breached the contract with Plaintiff and the Tuition Class by moving all

   classes for the Spring 2020 semester to online distance learning platforms, without

   reducing or refunding tuition accordingly.

68. The University retained tuition monies paid by Plaintiff and other members of the Tuition



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   Class, without providing them the full benefit of their bargain.

69. Plaintiff and other members of the Tuition Class have suffered damage as a direct and

   proximate result of Defendant's breach, including but not limited to being deprived of the

   value of the services the tuition was intended to cover, namely live in-person instruction

   in a physical classroom.

70. As a direct and proximate result of Defendant's breach, Plaintiff and the Tuition Class are

   legally and equitably entitled to damages, to be decided by the trier of fact in this action,

   to include but not be limited to disgorgement of the difference between the value of the

   online learning which is being provided versus the value of the live in-person instruction

   in a physical classroom that was contracted for.

               FOR A SECOND COLLECTIVE CAUSE OF ACTION
                              UNJUST ENRICHMENT
                 (Plaintiff and Other Members of the Tuition Class)

71. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

72. Plaintiff brings this count on behalf of himself and other members of the Tuition Class.

73. The University has received a benefit at the expense of Plaintiff and other members of the

   Tuition Class to which it is not entitled.

74. Plaintiff and other members of the Tuition Class paid substantial tuition for live in-person

   instruction in physical classrooms and did not receive the full benefit of the bargain.

75. Plaintiff and other members of the Tuition Class conferred this benefit on Defendant

   when they paid the tuition.

76. Defendant has realized this benefit by accepting such payment.

77. Defendant has retained this benefit, even though Defendant has failed to provide the



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   services for which the tuition was collected, making Defendant's retention unjust under

   the circumstances.

78. Equity and good conscience requires that the University return a portion of the monies

   paid in tuition to Plaintiff and other members of the Tuition Class.

79. Defendant should be required to disgorge this unjust enrichment.

                FOR A THIRD COLLECTIVE CAUSE OF ACTION
                             BREACH OF CONTRACT
                  (Plaintiff and Other Members of the Fees Class)

80. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

81. Plaintiff brings this count on behalf of himself and other members of the Fees Class.

82. Plaintiff and the Fees Class entered into contracts with the University which provided

   that Plaintiff and other members of the Fees Class would pay certain fees for or on behalf

   of students and, in exchange, the University would provide services related to those fees,

   such as access to student activities, athletics, wellness centers, libraries, etc.

83. Plaintiff and other members of the Fees Class fulfilled their end of the bargain when they

   paid these fees for the Spring 2020 semester either out-of-pocket or by using student loan

   financing, or otherwise.

84. The University breached the contract with Plaintiff and the Fees Class by moving all

   classes for the Spring 2020 semester to online distance learning platforms, constructively

   evicting students from campus, and closing most campus buildings and facilities.

85. The University retained fees paid by Plaintiff and other members of the Fees Class,

   without providing them the full benefit of their bargain.

86. Plaintiff and other members of the Fees Class have suffered damage as a direct and



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   proximate result of Defendant's breach, including but not limited to being deprived of the

   value of the benefits and services the fees were intended to cover.

87. As a direct and proximate result of Defendant's breach, Plaintiff and the Fees Class are

   legally and equitably entitled to damages, to be decided by the trier of fact in this action,

   to include but not be limited to disgorgement of the pro-rata amount of fees that was

   collected but for which services were not provided.

               FOR A FOURTH COLLECTIVE CAUSE OF ACTION
                              UNJUST ENRICHMENT
                  (Plaintiff and Other Members of the Fees Class)

88. Plaintiff incorporates by reference all preceding allegations as though fully set forth

   herein.

89. Plaintiff brings this count on behalf of himself and other members of the Fees Class.

90. The University has received a benefit at the expense of Plaintiff and other members of the

   Fees Class to which it is not entitled.

91. Plaintiff and other members of the Fees Class paid substantial student fees for on campus

   benefits and services and did not receive the full benefit of the bargain.

92. Plaintiff and other members of the Fees Class conferred this benefit on Defendant when

   they paid the fees.

93. Defendant has realized this benefit by accepting such payment.

94. Defendant has retained this benefit, even though Defendant has failed to provide the

   services for which the fees were collected, making Defendant's retention unjust under the

   circumstances.

95. Equity and good conscience requires that the University return a pro-rata portion of the

   monies paid in fees to Plaintiff and other members of the Fees Class.



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    96. Defendant should be required to disgorge this unjust enrichment.



                                         PRAYER FOR RELIEF


    WHEREFORE, Plaintiff, individually and on behalf of members of the Class(es), pray for

judgment in their favor and against Defendant as follows:

        a.        Certifying the Classes as proposed herein, designating Plaintiff as Class

        representative, and appointing undersigned counsel as Class Counsel;

        b.        Declaring that Defendant is financially responsible for notifying the Class

        members of the pendency of this action;

        c.        Declaring that Defendant has wrongfully kept monies paid for tuition and fees;

        d.        Requiring that Defendant disgorge amounts wrongfully obtained for tuition and

        fees;

        e.        Awarding injunctive relief as permitted by law or equity, including enjoining

        Defendant from retaining the pro-rated, unused monies paid for tuition and fees;

        f.        Scheduling a trial by jury in this action;

        g.        Awarding Plaintiff’s reasonable attorney’s fees, costs and expenses, as permitted

        by law;

        h.        Awarding pre and post judgment interest on any amounts awarded, as permitted

        by law; and

        i.        Awarding such other and further relief as may be just and proper.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury in this action of all issues so triable.

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                            [signature on following page]



This 1st day of May, 2020

                                      Douglas & Boykin, PLLC

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                                                     -and-

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